Case 19-10350-JDW     Doc 22   Filed 03/22/19 Entered 03/22/19 10:00:12        Desc Main
                               Document     Page 1 of 1


_________________________________________________________________________________

                                              SO ORDERED,



                                              Judge Jason D. Woodard
                                              United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________

             IN THE UNITED STATES BANKRUPTCY COURT FOR
                 THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                               CHAPTER 13 CASE NO.:

WESLEY L. BAILEY                                                19-10350-JDW

      ORDER WITHDRAWING OBJECTION TO CONFIRMATION (Dkt. #9)

      THIS MATTER came before the Court on the Trustee’s First Objection to

Confirmation (Dkt. #9) (the “Objection”) file by Locke D. Barkley, Chapter 13 Trustee

(the “Trustee”) and the Court being advised that the Trustee requests to withdraw

the Objection. Upon request by the Trustee,

      IT IS ORDERED that the Objection shall be and is hereby withdrawn.

                                ##END OF ORDER##
SUBMITTED BY:

/s/ W. Jeffrey Collier
ATTORNEYS FOR TRUSTEE
W. Jeffrey Collier (MSB 10645)
Melanie T. Vardaman (MSB 100392)
6360 I-55 North, Suite 140
Jackson, Miss. 39211
(601) 355-6661
ssmith@barkley13.com
